                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         MIDDLE DISTRICT OF TENNESSEE
                              COLUMBIA DIVISION


 KEVIN JOHNSON                                )
                                              )
        Plaintiff,                            )
                                              )        NO. 1:18-cv-00010
v.                                            )
                                              )        JUDGE CAMPBELL
 CHERRY LINDAMOOD, et al.,                    )        MAGISTRATE JUDGE FRENSLEY
                                              )
        Defendants.                           )


                                            ORDER

        Pending before the Court is a Report and Recommendation from the Magistrate Judge

(Doc. No. 109) recommending the Court grant the Motion to Dismiss for Lack of Prosecution and

Failure to Comply with the Court’s Orders filed by Defendants Stanley Wilbanks and Rhonda

Staggs (Doc. No. 104). Plaintiff did not respond to the motion to dismiss filed February 10, 2021;

nor did he respond to the show cause order issued March 9, 2021 (Doc. No. 106). The Magistrate

Judge determined that this case should be dismissed for failure to prosecute under Rule 41(b) of

the Federal Rules of Civil Procedure and recommended dismissal without prejudice as the

appropriate sanction.

        The Report and Recommendation advised the parties that any objections to the Magistrate

Judge’s findings were to be filed within fourteen days. (Doc. No. 109 at 9). No objections have

been filed.

        The Court has reviewed the Report and Recommendation (Doc. No. 109) and concludes

that it should be ADOPTED and APPROVED. Accordingly, the Motion to Dismiss filed by




     Case 1:18-cv-00010 Document 110 Filed 06/08/21 Page 1 of 2 PageID #: 447
Defendants Stanley Wilbanks and Rhonda Staggs (Doc. No. 104) is GRANTED and this case is

DISMISSED WITHOUT PREJUDICE.

      The Clerk is directed to close the file.

      It is so ORDERED.


                                                 ____________________________________
                                                 WILLIAM L. CAMPBELL, JR.
                                                 UNITED STATES DISTRICT JUDGE




                                                 2

   Case 1:18-cv-00010 Document 110 Filed 06/08/21 Page 2 of 2 PageID #: 448
